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7                        UNITED STATES DISTRICT COURT
8                      SOUTHERN DISTRICT OF CALIFORNIA
9
10   IN RE: PACKAGED SEAFOOD                 Case No.: 15-md-2670-JLS-MDD
11   PRODUCTS ANTITRUST
     LITIGATION                              ORDER ON JOINT MOTION FOR
12                                           DETERMINATION OF
                                             DISCOVERY DISPUTE:
13                                           PLAINTIFFS’ MOTION FOR
14                                           EARLY DISCOVERY FROM THE
                                             LION ENTITIES
15
16                                           [ECF No. 1261]
17
          Before the Court is the Joint Motion of Plaintiffs and Defendants Lion
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     Capital LLP, Lion Capital (Americas), Inc., and Big Catch Cayman LP (the
19
     “Lion Entities”) presenting Plaintiffs’ request for early discovery from the
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     Lion Entities. The motion was filed on July 5, 2018. (ECF No. 1261).
21
                                    BACKGROUND
22
          The dispute began when then non-party Lion Capital, LLC, was served
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     with two subpoenas duces tecum by Plaintiffs in this action at its offices in
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     Los Angeles California. (ECF Nos. 757-2, 757-3). The subpoenas were served
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     in April and June, 2017. (Id.). The subpoenas were issued pursuant to Rule
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     45, Fed. R. Civ. P., which governs subpoenas to non-parties in federal civil
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1    cases. Lion Capital initially complied with the subpoenas and produced
2    documents on a rolling basis to Plaintiffs. (ECF No. 783-1, ¶¶ 9-11).
3    On October 16, 2017, having been informed by Plaintiffs that Plaintiffs would
4    be seeking leave to add Lion Capital and certain related entities as
5    defendants, Lion Capital suspended production of documents. (Id. ¶ 12). On
6    that same date, the Direct Purchaser Class Plaintiffs moved the district court
7    for leave to amend the Complaint to add additional defendants including the
8    Lion Entities. (ECF No. 530). On December 4, 2017, the Direct Action
9    Plaintiffs similarly moved for leave to amend the Complaint to add the Lion
10   Entities. (ECF No. 724). And, on January 2, 2018, the Indirect Purchaser
11   Plaintiffs similarly moved for leave to amend the Complaint. (ECF No. 769).
12        On April 10, 2018, the Court granted the motions to add the Lion
13   Entities to the operative Complaints. (ECF No. 884). On May 2, 2018, the
14   Lion Entities moved to dismiss the Complaints for lack of personal
15   jurisdiction. (ECF Nos. 997, 999). The district judge held a hearing on the
16   motions to dismiss and took the matter under submission on July 30, 2018.
17   (ECF No. 1315).
18        In December 2017, Plaintiffs moved to compel discovery from then non-
19   party Lion Capital in this Court. (ECF No. 757). That motion was denied
20   without prejudice on the grounds that it was required to be brought in the
21   Central District of California, where production was to be made, under Fed.
22   R. Civ. P. 45. (ECF No. 790). After the Lion Entities were added as
23   defendants, Plaintiffs renewed their motion to compel on May 29, 2018. (ECF
24   No. 1125). The Court denied that motion on the grounds that discovery was
25   not open regarding the Lion Entities as no answer had been filed, the
26   required conference under Fed. R. Civ. P. 26(f) had not occurred, potentially
27   dispositive motions to dismiss were pending, and that no motion for early

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1    discovery had been granted. (ECF No. 1194). This joint motion, presenting
2    Plaintiffs’ request for early discovery, followed.
3                                     DISCUSSION
4         A. Legal Standard for Motion for Expedited Discovery
5    Federal Rule of Civil Procedure 26(d) states:
6         A party may not seek discovery from any source before the parties
          have conferred as required by Rule 26(f), except in a proceeding
7         exempted from initial disclosure under Rule 26(a)(1)(B), or when
8         authorized by these rules, by stipulation, or by court order.
9         In the instant case, Plaintiff may obtain early discovery only by court
10   order. Though “[e]xpedited discovery is not the norm[,]” district courts within
11   the Ninth Circuit have permitted expedited discovery prior to the Rule 26(f)
12   conference upon a showing of “good cause.” Am. LegalNet, Inc. v. Davis, 673
13   F. Supp. 2d 1063, 1066 (C.D. Cal. 2009) (internal quotations and citations
14   omitted). “Good cause exists ‘where the need for expedited discovery, in
15   consideration of the administration of justice, outweighs the prejudice to the
16   responding party.’” In re Countrywide Fin. Corp. Derivative Litig., 542 F.
17   Supp. 2d 1160, 1179 (C.D. Cal. 2008) (quoting Semitool, Inc. v. Tokyo Electron
18   Am. Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002)). In considering whether good
19   cause exists, factors courts may consider include “(1) whether a preliminary
20   injunction is pending; (2) the breadth of the discovery request; (3) the purpose
21   for requesting the expedited discovery; (4) the burden on the defendants to
22   comply with the requests; and (5) how far in advance of the typical discovery
23   process the request was made.” Palermo v. Underground Sols., Inc., Case No.
24   12cv1223-WQH-BLM, 2012 WL 2106228, at *2 (S.D. Cal. June 11, 2012)
25   (citing Am. LegalNet, 673 F.Supp.2d at 1067).
26        B. Analysis
27        Plaintiffs assert that early discovery is warranted so that the schedule

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1    in this case may be maintained, including a closing date of November 27,
2    2018. Plaintiffs also state that discovery proceeded in this litigation
3    regarding other defendants before the pleadings were settled and without
4    any conferences under Rule 26(f). Moreover, Plaintiffs suggest that this
5    discovery is needed to address the Lion Entities’ jurisdictional defenses.
6    Finally, Plaintiffs argue that even if the motions to dismiss are granted, the
7    Lion Entities will have to produce information pursuant to the extant Rule 45
8    subpoenas.
9         The Lion Entities disagree. They state that they have provided
10   voluntarily over 23,000 pages of discovery in response to Plaintiffs’ requests
11   for jurisdictional discovery only refusing to respond to expansive merits
12   discovery once Plaintiffs determined to add them as parties. They argue that
13   Plaintiffs have not narrowed the broad merits discovery requested and that
14   Plaintiffs have not articulated sufficient good cause to commence such
15   discovery early.
16        The discovery sought by Plaintiffs is not narrowly tailored to address a
17   particular issue pressing at this time. It is full-blown merits discovery.
18   There certainly is a burden upon the Lion Entities to respond at this time.
19   The Court finds the burden to be undue unless and until any of the Lion
20   Entities answer the Complaint and participate in a Rule 26(f) conference,
21   unless the district judge waives the required conference. The Court disagrees
22   that that the Lion Entities will be subject to the same burdens even as a non-
23   party. Rule 45, Fed. R. Civ. P., imposes particular protections upon non-
24   parties subject to discovery requests which are not present for parties.
25        The Court finds that good cause has not been shown for early discovery
26   to be ordered at this time.
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1                                   CONCLUSION
2         As presented in this Joint Motion, Plaintiff’s request for early discovery
3    of the Lion Entities is DENIED.
4    Dated: July 31, 2018
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